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BRADY J. HALL (ISBN 7873)
brady@melawfirm.net
MICHAEL W. MOORE (ISBN 1919)
mike@melawfirm.net
MOORE ELIA KRAFT & HALL, LLP
Post Office Box 6756
Boise, Idaho 83707
Telephone: (208) 336-6900
Facsimile: (208) 336-7031

JAYME SULLIVAN (ISBN 6258)
jsullivan@cityofboise.org
Boise City Attorney
SCOTT B. MUIR (ISBN 4229)
SMuir@cityofboise.org
Deputy City Attorney
BOISE CITY ATTORNEY’S OFFICE
150 North Capitol Boulevard
P.O. Box 500
Boise, Idaho 83701-0500
Telephone: (208) 384-3870
Facsimile: (208) 384-4454

Attorneys for Defendant City of Boise

                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 ROBERT MARTIN, et al.,                 )   Civil No. 1:09-CV-00540-REB
                                        )
                       Plaintiffs,      )   JOINT MOTION AND STIPULATION TO
                                        )
                                            EXTEND DEADLINE TO FILE ANSWER
 vs.                                    )   TO THIRD AMENDED COMPLAINT
                                        )
 CITY OF BOISE, et al.,                 )
                                        )
                                        )
                   Defendants.          )
 _________________________________      )




JOINT MOTION AND STIPULATION TO EXTEND DEADLINE TO FILE ANSWER
TO THIRD AMENDED COMPLAINT- 1
         Case 1:09-cv-00540-REB Document 339 Filed 03/24/20 Page 2 of 3




       COME NOW Defendants and Plaintiffs, by and through their respective attorneys of

record, and pursuant to District Local Rule Civ. 6.1, hereby jointly stipulate and motion this Court

for an order extending the deadline to file an answer to Plaintiffs’ Third Amended Complaint for

Declaratory and Injunctive Relief and Monetary Damages (Dkt. 338) by an additional fourteen

(14) days, such that the new deadline will be April 7, 2020. Given the pandemic’s significant and

unprecedented disruptions to the City of Boise and its counsel, it is respectfully submitted that

good cause warrants granting the limited extension of time requested.

       DATED this 24th day of March, 2020.


                                                     s/ Howard A. Belodoff
                                                     Howard A. Belodoff
                                                     Counsel for Plaintiffs

       DATED this 24th day of March, 2020.


                                                     s/ Brady J. Hall
                                                     Brady J. Hall
                                                     Counsel for Defendant City of Boise




JOINT MOTION AND STIPULATION TO EXTEND DEADLINE TO FILE ANSWER
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 24th day of March, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

 Howard Belodoff                                 Served through CM/ECF at:
 Idaho Legal Aid Services, Inc.              howardbelodoff@idaholegalaid.org
 1447 So. Tyrell Lane
 Boise, ID 83706
 Attorney for Plaintiffs

 Michael E. Bern                                  Served through CM/ECF at:
 Krysta C. Copeland                          Michael.bern@lw.com
 Allen M. Gardner                            Krysta.copeland@lw.com
 Scott C. Jones                              Allen.gardner@lw.com
 Latham & Watkins LLP                        Scott.jones@lw.com
 555 11th Street NW,
 Suite 1000
 Washington, DC 20004
 Attorney for Plaintiffs

 Sharon Brett                                     Served through CM/ECF at:
 US Dept. of Justice                         sharon.brett@usdoj.gov
 Civil Rights Division
 950 Pennsylvania Ave. NW
 Washington, DC 20530
 Attorney for Plaintiffs

 Eric S. Tars                                     Served through CM/ECF at:
 National Law Center on Homelessness &       etars@nlchp.org
 Property
 2000 M St. NW, Ste. 210
 Washington, DC 20036
 Attorney for Plaintiffs

                                           /s/ Brady J. Hall
                                           Brady J. Hall




JOINT MOTION AND STIPULATION TO EXTEND DEADLINE TO FILE ANSWER
TO THIRD AMENDED COMPLAINT- 3
